                                      FRANKLIN, GRINGER & COHEN, P.C.
    Glenn J. Franklin                                    ATTORNEYS AT LAW                       Ken Sutak
    Martin Gringer                                                                                 of counsel
    Steven Elliot Cohen                            666 OLD COUNTRY ROAD, SUITE 202
    Michael S. Mosscrop                           GARDEN CITY, NEW YORK 11530-2013
    Jasmine Y. Patel*                          TELEPHONE (516) 228-3131. FAX (516) 228-3136
    Danielle Mietus
    *ADMITTED TO NY AND NJ                                           February 27, 2023

Via ECF
The Honorable LaShann DeArcy Hall
United States District Judge for the
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

             Re:             Paschalidis v. The Airline Restaurant Corp., et al.,
                             Docket No.: 20-cv-2804(LDH)(LB)

Dear Judge DeArcy Hall:

        We represent the Defendants The Airline Restaurant Corp., James Meskouris, and Peter
Meskouris (all three, together as “Defendants”), in the above-referenced matter. We write,
pursuant to the Court’s Electronic Order dated January 19, 2023 and in accordance with Rule
III(A)(6) of Your Honor’s Individual Practices, to respectfully request a pre-motion conference in
connection with Defendants’ anticipated motion for summary judgment pursuant to Federal Rule
of Civil Procedure 56, and to provide the Court with the bases for same.1

        This matter arises out of Plaintiff’s ownership and employment as a manager at Airline,
from approximately 1989 until February 13, 2020. In this lawsuit, Plaintiff asserted claims against
all Defendants for: (i) unpaid minimum wages in violation of the Fair Labor Standards Act
(“FLSA”), 29 U.S.C. § 206, and the New York Labor Law (“NYLL”), § 650 et seq.; (ii) retaliation
in violation of NYLL § 2152; (iii) inaccurate wage statements, NYLL § 195(3); and (iv) age
discrimination in violation of the New York State Human Rights Law (“NYSHRL”), Executive
Law § 290 et seq., and the New York City Human Rights Law (“NYCHRL”), N.Y. Admin. Code
§ 8-101 et seq. Defendants’ anticipated motion involves each of Plaintiff’s claims.

1
  Pursuant to Rule III(A)(6)(b) and (i) of Your Honor’s Individual Practices, Defendants The Airline
Restaurant Corp., James Meskouris, and Peter Meskouris’ Statement of Material Facts Pursuant to Local
Civil Rule 56.1(a) of the Local Rules of the United States District Courts for the Southern and Eastern
Districts of New York, as well as the Declaration of Danielle E. Mietus, Esq., with Exhibits 1 through 13,
attached thereto, are submitted contemporaneously herewith.
2
  Although Plaintiff’s Amended Complaint, ECF No. 30, contains a cause of action for retaliation in
violation of the FLSA, Plaintiff voluntarily dismissed that claim with prejudice pursuant to Rule
41(a)(1)(A)(i) during the July 20, 2020 Pre-Motion Conference in connection with Defendants’ then-
anticipated motion to dismiss. See ECF No. 29, n.1.
       I.      Plaintiff is Subject to the Business Owner Exemption.

        Certain categories of employees are exempt from the FLSA’s and the NYLL’s minimum
wage and overtime pay requirements. See 29 U.S.C. § 213. Applicable here, the “business owner”
exemption applies to “any employee who owns at least a bona fide twenty percent equity interest
in the enterprise . . . and who is actively engaged in its management . . . [as] defined in § 541.102.”
See 29 CFR § 541.101. Moreover, the salary requirements applicable to employees subject to the
executive exemption under 29 CFR § 541.100, do not apply to business owners. See 29 CFP §
541.101. Here, it is undisputed that: since Airline’s inception in 1989, Plaintiff has owned and
currently does own a bona fide twenty-five percent equity interest in Airline; Plaintiff’s job duties
throughout his entire employment at Airline did not change; specifically between January 2018
and February 6, 2020, Plaintiff was responsible for the efficient operation and management of
Airline; Plaintiff oversaw Airline’s employees, directed their work, and received employee
complaints regarding their rates of pay; and was involved in interviewing prospective employees
and the hiring process. Thus, Defendants are entitled to summary judgment on Plaintiff’s wage
claims because he falls squarely within the business owner exemption.

       II.     Retaliation.

        Section 215(1)(a) of the NYLL prohibits employers from, inter alia, retaliating against an
employee because the employee “has made a complaint to his . . . employer . . . that the employer
has engaged in conduct that the employee . . . believes violates any provision of [the NYLL].” To
establish a prima facie case of retaliation under the NYLL, Plaintiff must offer evidence that he:
(1) participated in a protected activity; (2) suffered an adverse employment action; and (3) that
there was a causal connection between engaging in the protected activity and the adverse
employment action. See Alvardo v. GC Dealer Services, Inc., 511 F. Supp. 3d 321, 358 (E.D.N.Y.
2021). Here, Plaintiff’s claim fails because he did not engage in protected activity under the
NYLL. Rather, Plaintiff’s alleged complaints were concerning how he believed that his wages
were “not fair” because he was a bona fide twenty-five percent owner of Airline, and was not 50/50
partners with either Defendant James or Defendant Peter. Furthermore, any complaints that
Plaintiff allegedly made concerning his pay prior to April 13, 2018, two years before Plaintiff
commenced this action, are time barred. Moreover, any complaints that Plaintiff allegedly made
to Defendant James after March 30, 2018, were not made to Plaintiff’s “employer” because by
mid-2018, Defendant James ceased being involved in Airline.

       III.    Plaintiff Lacks Article III Standing on his Wage Statement Claim.

        Defendants are also entitled to summary judgment on Plaintiff’s wage statement claim
under the NYLL because Plaintiff lacks Article III standing. See Sudilovskiy v. City WAV Corp.,
2022 WL 4586307, at *5 (E.D.N.Y. Sept. 29, 2022) (noting that “in the absence of any causal
connection between the purported informational failure and any harm that plaintiffs allegedly
suffered, plaintiffs asserting wage notice and wage statement violations lack Article III standing
to bring those claims”).




                                                  2
        IV.      Age Discrimination.

         With respect to Plaintiff’s age discrimination claims,3 his only allegations are that during
one single telephone conversation at the end of September 2019, Defendant Peter allegedly asked
Plaintiff when he will retire and allegedly stated that working without the night manager will be
difficult and he will suffer because he is old. Here, although Defendant Peter disputes making any
age-related comments to Plaintiff - - even accepting, solely for purposes of Defendants’ anticipated
motion for summary judgment, that Plaintiff’s testimony is true - - such comments nevertheless
fail as a matter of law to rise to the level required to sustain Plaintiff’s discrimination causes of
action. Per the Second Circuit, under “the NYCHRL . . . a defendant is not liable if the plaintiff
fails to prove the conduct is caused at least in part by discriminatory or retaliatory motives . . . or
if the defendant proves the conduct was nothing more than ‘petty slights or trivial
inconveniences.’” Mihalik v. Credit Agricole Cheuvreux N. Am., Inc., 715 F.3d 102, 113 (2d Cir.
2013). Here, assuming Plaintiff can prove that the alleged conduct was caused in part by
discriminatory motives, the conduct amounted to petty slights or trivial inconveniences.

        V.       Damages.

        Lastly, Defendants are entitled to summary judgment on Plaintiff’s claims for backpay and
front pay damages because Plaintiff failed to mitigate his damages. Here, Plaintiff has not worked
since February 6, 2020, his last day at Airline, and in fact testified that he did not seek other
employment after Airline because he did not know what was going to happen with his lawsuits
against Defendants and did not need to work for anyone else. As such, Defendants are entitled to
summary judgment. See Reilly v. Cisneros, 835 F. Supp. 96, 99 (W.D.N.Y. 1993), aff'd, 44 F.3d
140 (2d Cir. 1995) (“In general, a plaintiff fails to mitigate adequately . . . to the extent he fails to
remain in the labor market”).

        Accordingly, we respectfully request that the Court grant Defendants permission to file a
summary judgment motion on these issues. We thank the Court for its time and attention to this
matter.

                                                   Respectfully submitted,

                                                   FRANKLIN, GRINGER & COHEN, P.C.

                                                   ____________________________________
                                                   Danielle E. Mietus, Esq.

C:      All Counsel of Record (via ECF)



3
 On October 11, 2019, amendments to the NYSHRL went into effect. Prior to that date, Plaintiff’s claims
under the NYSHRL are subject to the same standard as those under the Age Discrimination in Employment
Act, which is narrower than that of the NYCHRL. The instant analysis focuses on the NYCHRL because, if
Plaintiff cannot satisfy the broad standard - - which Defendants argue he cannot - - then Plaintiff’s claims
under the more exacting state law standard must necessarily fail.

                                                      3
